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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLORADO
                                     Judge R. Brooke Jackson

   Civil Action No 19-cv-00874-RBJ-MEH

   WARNER RECORDS INC., et al

          Plaintiffs,

   v.

   CHARTER COMMUNICATIONS, INC.,

          Defendant.


              ORDER SETTING TRIAL AND TRIAL PREPARATION CONFERENCE



           This matter is set for a three-week Jury Trial to commence on October 24, 2022 at

   9:00 a.m. on the docket of Judge R. Brooke Jackson U.S. District Courthouse, Courtroom A902,

   9th Floor, 901 19th Street, Denver, Colorado.

          A Trial Preparation Conference is set for September 7, 2022 9:00 a.m. Pro se parties and

   lead Counsel should attend.

          During the Trial Preparation Conference the parties should be prepared to address: jury

   instructions, jury selections, witnesses and evidence, anticipated evidentiary issues, stipulations

   as to fact, and any other issue affecting the duration or course of the trial. The parties are

   directed to confer prior to the Trial Preparation Conference to reach agreement on as many, if not

   all, of the proposed jury instructions. The proposed stipulated and disputed jury instructions

   should be emailed to Jackson_chambers@cod.uscourts.gov at least one week in advance of the

   Trial Preparation Conference. Please submit a single integrated proposed set of instructions.

   They should be numbered and grouped with the same-subject disputed instructions together and
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   indicate on each individual instruction if they are plaintiff’s or defendant’s proposal. Stipulated

   instructions should be individually labeled as such.

          For additional information, please review my practice standards located at

   http://www.cod.uscourts.gov/JudicialOfficers/ActiveArticleIIIJudges/HonRBrookeJackson.aspx

                  DATED this 29th day of June, 2021.

                                                          BY THE COURT:




                                                          ___________________________________
                                                          R. Brooke Jackson
                                                          United States District Judge
